Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 1of11

UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF NEW YORK

PRO BONO FUND VOUCHER
AND REQUEST FOR REIMBURSEMENT

 

I, William D. Wallace/Michael D. Callan , duly appointed as counsel pro bono to
represent Terry in the matter of
Terry Daum v. Devlin, etal.

 

Civil Action No. 9:15 -CV-01083, hereby request reimbursement pursuant to Local Rule 83. 2

for expenses incurred in the representation of my pro bono client in the amount of $_1,402.82
] certify that the expenses, a detailed copy of which are attached hereto, are reasonable

and necessary. I further understand that absent prior approval of the court, cumulative expenses

in this matter will not exceed $2,000.00.
Dated: a/: 22 wou

Counsel Pro Bono (Signature): Ne, WL )

The above application of counsel pro bono is fair and reasonable and payment is

requested from the Northern District of New York’s Pro Bono Fund.

Presiding Judge (Signature): PPTL
\ / \

IT IS SO ORDERED.

Dated: Cet LZ S0F7-f

Dated:

 

 

 

 

“ Chief U.S. District Judge (
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 2 of 11

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

Pro Bono Authorization Request

 

Attorney(s) Name: William D. Wallce, Esq./Michael D. Callan, Esq.
Case Number/Party
Represented: Terry Daum - Case No. 9:15-cv-01083

 

Authorization Request for expenses in excess of $500.00
Explanation:

Video depositions and transcripts of Wilelle Johnson, Gary Bowen and
Jason Scotchmer on March 30, 2021

 

Authorization Request for voucher in excess of $2,000.00
Explanation:

 

 

 

Travel Authorization Request
Provide justification for travel and a list of estimated travel expenses:

 

 

 

The above Authorization Request for travel expenses, expenses in excess of $500.00 or voucher in
excess of $2,000.00 is hereby PEP of Up)

gz
Presiding Judge (Signature): GS / Tl

Dated:

 

*Please email Authorization Request to the “Courtroom Deputy” of presiding Judge
*A copy of the approved authorization must be attached to your pro bono voucher.

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Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 3 of 11

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

Pro Bono Expense Voucher

 

 

 

Attorney(s) Name: Michael D. Callan, Esq./William D. Wallace, Esq.
Law Firm Name: Saunders Kahler LLP.

Mailing Address of Law :

Firm: 185 Genesee Street, Suite 1400

City/State/Zip: Utica NY 13501

 

I hereby request payment be made for Pro Bono services performed in:
Case Number: 9:15-C\/-01083-DNH-DJIS

Party Represented: Diaijntiff Terry Daum
Dates of Service: From: 3/25/2019 Ta: AIG12024

 

GRAND TOTAL
Rates Effective October 2020 thro September 2021
See mileage rates for Northem 5 isa of New York VOUCHER AMOUNT

#140282. S
Finance Audit_ AC Date: Alagtaogl

 

 

 

 

 

 

 

 

 

Plattsburgh

  

 

*Only actual expenses may be claimed

 

 

} certify that | rendered the services described herein, that said services are fair and reasonable and payment is requested from
the Northern District of New York's Pro Bono Fund. | further understand that absent prior approval of the Court, cumulative
expenses in this matter will not exceed $2,000.00.

Attomey Signature: OMIT Date: Y/ 22 f2 o2/

 

 

*Must provide receipts if your expenses include airfare, lodging, rental car and expenses $50.00 and over.
*Please submit your voucher via ECF using “Motion for Disbursement of Funds” event.

“If you have an expense over $500.00, travel expenses or your voucher exceeds $2,000.00, please fill out the attached Authorization
Request Form.

 

 
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 4 of 11

Pro Bono Other Expenses

*Any expenses in excess of $500.00 should receive the Court's prior approval. Please see guidelines for further details.

 

Attorney(s): Michael! D_ Callan, William D_ Wallace

  
     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

3/5/20 Medical Records - Check to Sullivan CF Evaluation of Injuries y $ 27.00
4/1/21 Video Depositions and Transcripts Trial Depositions $ 921.82 JS
4/6/21 Lunch - Jimmy John's Lunch for-Glent/COs, Attorneys $ 37.11] Oo yay
4/8/21 FedEx - clothes back to Daum's uncle Clothes for trial $ 115.30)4
TOTAL: $ 1,101.23 /

 

 

 

 
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page5of11

Pro Bono Travel Expenses

*Receipts required for lodging, airfare, rental cars and any meal $50.00 and over*

*Reimbursement for meals and lodging expenses may be claimed only on an actual expense (itemized) basis, up to the applicable GSA per diem allowance for

the date and location of travel. (See Rates table on page [)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Attorney(s):
OTHER MILEAGE
DATE EXPENSE TYPE TO/FROM EXPENSE | MILEAGE (EFFECTIVE TOTAL
AMOUNT 1/1/20)

8/16/19 Privately Owned Vehicle Great Meadow/Utica 256 0.58 $ 148.48
9/5/19 Privately Owned Vehicle Albany/Utica 192 0.58 $ 111.36
9/5/19 Meals: Breakfast $ 20.88 $ 20.88
9/5/19 Meals: Lunch $ 20.87 $ 20.87

TOTAL: $ 301.59

 

 

 

 

 

*Any expense other than privately owned vehicle, please enter in OTHER EXPENSE AMOUNT.

2
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 6 of 11

Associated Phone - 518-465-8029 Invoice
Reporte rs Email - ARI]@courtsteno.com
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Associated Reporters Int'l., Inc.

 

 

 

 

 

   
 

 
    

“4

=~ Attn: Merritt S .Locke

  

10 River Drive
P.O. Box 165
Massena, NY 13662

. ..185 Genesee Street, Suite 1400
Utica, NY 13501

  

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seer

4/1/2021

       

Appearance Fee: Full Day - 3/30/21 150.00 150.00

Video Services - Video - Flat Charge - 3/30/21 75.00 75.00

25 Deposition of WILELLE JOHNSON - Daum v Devlin/Cross/Stickney - 6.46 161.50
3/30/21 - Index No.: 15-CV-01083 - EXPEDITE

22 Deposition of GARY BOWEN - Daum v Devlin/Cross/Stickney - 6.46 142.12
3/30/21 - Index No.: 15-CV-01083 - EXPEDITE

20 Deposition of JASON SCOTCHMER - Daum v Devlin/Cross/Stickney - 6.46 129,20
3/30/21 - Index No.: 15-CV-01083 - EXPEDITE
Video Services - Video editing 250.00 250.00
Postage 14.00 14.00

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

TERRY DAUM,
Plaintiff,
vindex No.: 15-CV-01083
CAPTAIN DEVLIN; SERGEANT CROSS;
C. STICKNEY, CORRECTION OFFICER,
Defendants.

xX

DEPOSITIONS
DATE:March 30, 2021

VENUE:WebEx

Total $921182)/
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 7 of 11

 

ACCOUNT ACTIVITY (CONTINUED)

   

 

 

Date of

Transaction Merchant Name or Transaction Description $ sig
03/17 INFO QUICK SOLUTIONS | 315-463-1400 NY 5.00
04/20 INFO QUICK SOLUTIONS | 315-463-1400 NY cm 2.00 7
03/20 INFO QUICK SOLUTIONS | 316-489-1400 NY 20,00 7
03/20 INFO QUICK SOLUTIONS 1 315-489-1400 NY 3.00 ”
03/23 DELAWARE COUNTY CLERK 607-8925700 NY (iaiameasppmetermms® 7210.00
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IN *ASSOCIATED ERS 315-7698429 NY

 

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TRANSACTIONS THIS CYCLE (CARD ID Sm

 

 

2021 Totals Year-to-Date

 

 

 

Total fees charged in 2021 $0.00
Total Interast charged in 2021 $0.00
Year-to-date totals do not reflect any fee or Interest refunds
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INTEREST CHARGES
S$ Your Annual Percentage Rate (APR) is the annual interest rate on your account.
s Annual Balance
a Balance Typo Percentage Subject To interest
s Rate (APR) Interest Rate Charges
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Balance Transfer 18.24%(v}{d) -0- -0-
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(v) = Vaslable Rate

(d) = Daily Balance Method (Including new transactions)

(a) 5 Average Daily Balance Method {including new transactions)

Pisase soa Information About Your Account Section for the Calculation of Balance Subject to Interest Rata, Annual Renewal Notice,
How to Avold Interest on Purchases, and other important Information, as applicable,

“Includes Interest charges on Late or Return Payment tees.
“This My Chase Loan has expired. Interest wil continue to accrue on this My Chase Loan balance until it is paid In full.
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 8 of 11

Associated Reporters Int'l., Inc.
10 River Drive
Massena, NY 13662

 

 

 

04/07/2021
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MERCHANT COPY
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 9 of 11

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Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 10 of 11

 

 

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Tracking ID 816610631200 WILL WALLACE EDWARD DE CARDURA

Service Type FedEx Standard Overnight SAUNDERS KAHLER, LLP 102 DRKAE AVE UNIT 12

Package Type Customer Packaging 185 GENESEE ST STE 1400 NEW ROCHELLE NY 10805 US

Zone 03 UTICA NY 13501-2108 US

Packages I

Rated Weight 27.0 Ibs, 12.2 kgs

Delivered Apr 09, 2021 14:56 Transportation Charge 103.57
Svc Area A2 Fuel Surcharge 6.78
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Shipper Subtotal USD $287.48
Total FedEx Express USD $287.48
Case 9:15-cv-01083-DNH-DJS Document 184 Filed 10/06/21 Page 11 of 11

 

 

 

 

 

 

    
   

    
 

 

 

 

9/22/21, 8:58 AM tmaging - View Transaction
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